                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                             Plaintiff,
       v.                                                        Case No. 06-CR-264

BALDOMERO CASTILLO,
MICHAEL CORNELIUS,

                             Defendants.


                                           ORDER


              The defendants in the above-captioned case object to Magistrate Judge Goodstein’s

Recommendation to this Court that their motions to dismiss the indictment, request for an

evidentiary hearing and motion to suppress evidence be denied.

              This Court has read the Recommendation and the submissions offered by the parties

in response thereto and concludes as follows.

              The Court adopts the Magistrate Judge’s Recommendation in toto, including the

reasoning supporting the conclusions reached.

              The defendants’ motions to dismiss the indictment, Castillo’s request for an

evidentiary hearing, and Castillo’s motion to suppress are DENIED.

              Dated at Milwaukee, Wisconsin, this 17th day of October, 2007.

                                                    SO ORDERED,

                                                    s/ Rudolph T. Randa
                                                    HON. RUDOLPH T. RANDA
                                                    Chief Judge



    Case 2:06-cr-00264-RTR         Filed 10/17/07    Page 1 of 1     Document 99
